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                            UNITED STATES DISTRICT COURT

                          DISTRICT OF MINNESOTA
________________________________________________________________________

                                                Civil No 23-1608 (JRT/LIB)
MAX GRAY CONSTRUCTION, INC., et al.,

                      Plaintiffs,

                                                   ORDER FOR DISMISSAL
v.                                                   WITH PREJUDICE

WEST BEND MUTUAL INSURANCE, et al.,

                  Defendants.
________________________________________________________________________

      Steven L Reyelts, TRIAL GROUP NORTH, 302 West Superior Street #800,
      Duluth, MN 55802, for plaintiff.

      Lance D Meyer, O'MEARA WAGNER, P.A., 7401 Metro Boulevard, Suite 600,
      Minneapolis, MN 55439, for defendants Max Gray Construction, Inc and
      Cincinnati Insurance Companies.

      A Stipulation of Dismissal was filed on April 17, 2024. (ECF No. 27) Based on a

review of the file, record, and proceedings herein,

      IT IS HEREBY ORDERED that all claims against Defendant West Bend Mutual

Insurance Company and Plaintiffs Louhi & Kivela Masonry and Thomas Breiwick in this

action are hereby DISMISSED WITH PREJUDICE and without costs or disbursements to

any party. The dismissal of such claims shall not affect any claims between Plaintiffs

Max Gray Construction, Inc. and Cincinnati Insurance Companies and Plaintiff AmTrust

North America.
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Dated: May 8, 2024                             ____s/John R. Tunheim____
at Minneapolis, Minnesota                          JOHN R. TUNHEIM
                                                 United States District Judge




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